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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
 __________________________________________
                                                         CIVIL ACTION
 NEW LONDON EAGLE LLC,
                                                         NO: 19-12579
                             Plaintiff,
                                                         SECTION “T”
               vs.
                                                         JUDGE Greg G. Guidry
 MEDMAR INC.,
                         Defendant.
                                                         MAG. (3) Dana M. Douglas
 __________________________________________



                                           ORDER


       Before the Court is the Plaintiff’s Verified Complaint (ECF No. 1), Motion for

Issuance of Writ of Foreign Attachment and Rule B Affidavit (ECF No. 2). The Court after

reviewing same, including Exhibit 12 (ECF No. 1-5), finds that the grounds for issuance of a

writ of foreign attachment under Supplemental Admiralty Rule B do not appear to exist on the

showing made. Plaintiff has not sufficiently established for the issuance of the writ that

Defendant MEDMAR, Inc. is the present charterer of the M/V MAMMA MIA (IMO No.

9846548) and that under the charter party contract Defendant is the owner of the

bunkers aboard that vessel. Accordingly,

       IT IS ORDERED that the Motion for Issuance of Writ of Foreign Attachment be

and hereby is DENIED without prejudice to Plaintiff’s ability to re-file the motion after

addressing the noted concerns.

                                    13th day of September, 2019.
       New Orleans, Louisiana, this _____


                                                 ____________________________________
                                                           GREG GERARD GUIDRY
                                                       UNITED STATES DISTRICT JUDGE
